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To the Honorable Jeremiah C. Lynch.

I am Jamie's mother, Patricia Lynn Hagenlock. I work for Internal Medicine at Bozeman Deconess
Hospital. I have worked in the medical field for past 16 years with combined hands on patient care and
administrative work as well as starting my education for Medical Assistant this winter @ Gallatin College.

I have always held a close relationship with my son. Our relationship has grown even closer since his
release last October. We have weekly dinners and most recently the family collaborating on helping his
grandmother, Gloria and his grandfather, Les, who recently suffered a severe stroke. We all have been
taking a role in helping his grandfather who needs constant visits from his children and Jamie has been a
considerable help, demonstrating his caring and love of his family and grand parents.

Jamie has excellent attributes as both a man and a very successful business man. His business success
has been demonstrated by his increases in income by three fold over his recent history. Indeed his
current employer who owns several businesses has placed Jamie under a personal services contract to
assure that he continues in his employee and is adequately compensated for the significant value he adds
to his companies The respect that Jamie has gained from his employees, co-workers and boss, is one
measure of how Jamie has grown, matured and improved as a productive person. He is a natural leader.
He has good intellect and knows when, what and how to run a business and deal respectfully and
thoughtfully with people. He brings these same attributes to his personal life.

Thank you for allowing me to speak to you about my son of whom I am so proud. My son is definitely not a
threat to society or a flight risk.

Sincerely,

Patty Hagenlock
